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                IN THE UNITED STATES DISTRICT COURT FOR THE
                        NORTHERN DISTRICT OF FLORIDA
                            GAINESVILLE DIVISION



UNITED STATES OF AMERICA


vs.                                                     CASE NO. 1:08CR10-SPM/AK

MINERVA QUIINTANA,

        Defendants.

                                    /


                                         ORDER

        Presently before the Court is the Government’s Motion to Recall Warrant issued

for the Third Superseding Indictment. (Doc. 198). The Court has before it a Waiver of

Appearance for the arraignment preceding and a plea of not guilty to the charges

included therein. (Doc. 199). Consequently, the warrant is unnecessary, the motion

(doc. 198) is GRANTED, and the warrant is hereby QUASHED.

        DONE AND ORDERED this           4th day of February, 2009.




                                           s/ A. KORNBLUM
                                           ALLAN KORNBLUM
                                           UNITED STATES MAGISTRATE JUDGE
